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                                   Document      Page 1 of 3


                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 In Re:                                 )           Chapter 11
                                        )
 MARQUIS DIAGNOSTIC IMAGING, LLC, )                 Case No. 18-52365-pwb
                                       )
 MARQUIS DIAGNOSTIC IMAGING            )            Case No. 18-52357-pwb
 OF NORTH CAROLINA, LLC                )
                                       )
 MARQUIS DIAGNOSTIC IMAGING            )            Case No. 18-52380-pwb
 OF ARIZONA, LLC                       )
                                       )
 RADIANT MEDICAL IMAGING, LLC,         )            Case No. 18-52402-pwb
                                       )
 DVR ACQUISITION, LLC,                 )            Case No. 18-52589-pwb
                                       )
 DESERT VALLEY RADIOLOGY, P.L.C. )                  Case No. 18-52590-pwb
                                       )
       Debtors                         )            Jointly Administered under
                                       )            Case No. 18-52365-pwb
 ______________________________________


                ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

  Scott B. Riddle, Esq. and the Law Office of Scott B. Riddle, LLC, as counsel for Shared Imaging,
LLC, file this Entry of Appearance and Request for Notices. All pleadings, notices and other
documents should be forwarded to the following address:

                       Scott B. Riddle, Esq.
                       Law Office of Scott B. Riddle, LLC
                       Suite 1800 Tower Place
                       3340 Peachtree Road NE
                       Atlanta, Georgia 30326
                       Phone: 404-815-0164
                       Fax: 404-815-0165
                       E-mail: scott@scottriddlelaw.com
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     This 20th day of August 2018.

                                         By:_______/S/_______
                                         Scott B. Riddle, Esq.
                                         GA Bar No. 604855

Law Office of Scott B. Riddle, LLC
Suite 1800 Tower Place
3340 Peachtree Road NE
Atlanta, GA 30326
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                               CERTIFICATE OF SERVICE

       This is to certify that I have caused this Entry of Appearance by depositing same in the
United States Mail in a properly addressed envelope with adequate postage thereon to:

                                                  Office of the United States Trustee
 Henry Sewell, Jr.                                362 Richard Russell Building
 2964 Peachtree Road, NW                          75 Ted Turner Drive, SW
 Suite 555                                        Atlanta, Georgia 30303
 Atlanta, GA 30305




        This 20th day of June 2018.



                                             By:_______/S/_______

                                                  Scott B. Riddle, Esq.




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